                        2:19-cr-20006-MMM-EIL # 101            Page 1 of 8
                                                                                                        E-FILED
                                                                    Friday, 25 September, 2020 03:36:14 PM
                                                                                Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )               Case No. 19-20006
                                              )
JACOB RICHARD BURNS,                          )
                                              )
               Defendant.                     )

                                    ORDER AND OPINION

       This matter is now before the Court on Defendant Jacob Richard Burns’ Motion for

Compassionate Release (D. 84) and his Amended Motion for Compassionate Release (D. 98). For

the reasons set forth below, Defendant’s Motions are DENIED.

                                          BACKGROUND

       On April 24, 2019, Defendant pleaded guilty to knowingly and intentionally conspiring

and agreeing with other persons to distribute and possesses with the intent to distribute fifty grams

or more of methamphetamine (Count I); and for knowingly and intentionally possessing with the

intent to distribute fifty grams or more of methamphetamine (Count II). (Minute Entry dated

4/24/2019). Due to his designation as a Career Offender, Defendant’s guideline sentencing range

was 262 to 327 months. (D. 29). On August 30, 2019, the Court sentenced Defendant to 218

months of imprisonment and a 10-year term of supervised release. (D. 54 at 2-3). Defendant is

incarcerated at FCI Greenville, and his projected release date is October 18, 2033. (D. 90 at 3).

       On June 25, 2020, Defendant filed a Motion for Compassionate Release. (D. 84). The Court

appointed the Federal Public Defender’s Office (FPD) to represent him. (Text Order dated

6/25/2020). On June 28, 2020, the FPD filed a Motion to Withdraw after identifying a conflict of



                                                  1
                         2:19-cr-20006-MMM-EIL # 101            Page 2 of 8




interest. (D. 85). The Court granted the motion and appointed attorney Harvey Welch to represent

Defendant. (Text Orders dated 7/1/2020 and 7/2/2020). On July 31, 2020, Mr. Welch filed an

Amended Motion for Compassionate Release. (D. 88). On August 10, 2020, the Government filed

its response in opposition to Defendant’s release. (D. 90). On August 24, 2020, Defendant filed a

Motion to Amend his Motion for Compassionate Release, asking the Court to allow him to proceed

pro se. (D. 95). On August 26, 2020, the Court granted Defendant’s Motion to Amend and

terminated Mr. Welch’s representation. (Text Order dated 8/26/2020).

        On September 2, 2020, Defendant filed a letter with the Court regarding inmates at FCI

Greenville who tested positive for COVID-19, and on September 14, 2020, he filed an affidavit

related to conditions at the facility. (D. 99, 100). Defendant failed to file a motion asking the Court

for leave to supplement his Amended Motion for Compassionate Release. Therefore, the Court

declines to consider his additional materials. This Order follows.

                                         LEGAL STANDARD

        Before filing a motion for compassionate release, a defendant is required to first request

that the Bureau of Prisons (BOP) file a motion on his behalf. 18 U.S.C. § 3582(c)(1)(A). A court

may grant a motion only if it was filed “after the defendant has fully exhausted all administrative

rights to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf” or

after 30 days have passed “from the receipt of such a request by the warden of the defendant’s

facility, whichever is earlier.” Id.

        The compassionate release statute directs the Court to make three considerations: (1)

whether extraordinary and compelling reasons warrant a sentence reduction; (2) whether a

reduction is consistent with the factors listed in 18 U.S.C. § 3553(a); and (3) whether a reduction




                                                  2
                        2:19-cr-20006-MMM-EIL # 101           Page 3 of 8




would be “consistent with applicable policy statements issued by the Sentencing Commission.” 18

U.S.C. § 3582(c)(1).

        If an inmate has a chronic medical condition identified by the Centers for Disease Control

(CDC) as elevating the inmate’s risk of becoming severely ill from COVID-19, that condition may

satisfy the standard of “extraordinary and compelling reasons.” A chronic condition reasonably

may be found to be “serious” and to “substantially diminish the ability of the defendant to provide

self-care within the environment of a correctional facility.” USSG § 1B1.13, cmt. n.1(A)(ii)(I).

        “The mere presence of COVID-19 in a particular prison cannot justify compassionate

release—if it could, every inmate in that prison could obtain release.” See, e.g., United States v.

Melgarejo, 2020 WL 2395982 at *5 (C.D. Ill. May 12, 2020). Rather, “a prisoner [may] satisfy

the extraordinary and compelling reasons requirement by showing that his particular institution is

facing a serious outbreak of COVID-19 infections, the institution is unable to successfully contain

the outbreak, and his health condition places him at significant risk of complications should he

contract the virus.” Id. at 5–6.

        Finally, a court must deny a sentence reduction unless it determines that a defendant “is

not a danger to the safety of any other person or to the community.” USSG § 1B1.13(2).

                                           DISCUSSION

        Generally, the Court is statutorily prohibited from modifying a term of imprisonment once

it has been imposed. See 18 U.S.C. § 3582(c). Several statutory exceptions exist, one of which

allows the Court to grant a defendant compassionate release if certain requirements are met. See

18 U.S.C. § 3528(c)(1)(A). Since the enactment of the First Step Act, 18 U.S.C. § 3582(c)(1)(A),

an inmate is allowed to file a motion for compassionate release, but only after exhausting

administrative review of a BOP denial of the inmate’s request for the BOP to file a motion or after



                                                3
                        2:19-cr-20006-MMM-EIL # 101            Page 4 of 8




waiting thirty days from when the inmate’s request was received by the BOP, whichever is earlier.

The statute states as follows:

       The court, upon motion of the Director of the Bureau of Prisons, or upon motion of
       the defendant after the defendant has fully exhausted all administrative rights to
       appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
       or the lapse of 30 days from the receipt of such a request by the warden of the
       defendant's facility, whichever is earlier, may reduce the term of imprisonment (and
       may impose a term of probation or supervised release with or without conditions
       that does not exceed the unserved portion of the original term of imprisonment),
       after considering the factors set forth in section 3553(a) to the extent that they are
       applicable, if it finds that—

       (i)     extraordinary and compelling reasons warrant such a reduction ...
               and that such a reduction is consistent with applicable policy
               statements issued by the Sentencing Commission.

18 U.S.C. § 3528(c)(1)(A).

       A. Defendant Failed to Meet the 30-day Exhaustion Requirement.

       Here, it is unclear when Defendant contacted the warden and requested compassionate

release based on concerns about COVID-19, but on July 23, 2020, the warden denied his request.

(D. 98 at 1). The warden’s denial occurred after Defendant filed his initial Motion for

Compassionate Release on June 25, 2020; however, the denial occurred before Defendant’s court-

appointed counsel filed an Amended Motion for Compassionate Release on his behalf on July 31,

2020. (D. 84; D.88). Subsequently, the Court gave Defendant leave to proceed pro se and filed his

pro se Amended Motion for Compassionate Release on August 31, 2020. (D. 98).

       The Supreme Court has held “one is entitled to judicial relief for a supposed or threatened

injury until the prescribed administrative remedy has been exhausted.” McKart v. U.S., 395 U.S.

185, 193 (1969). The doctrine is applied in numerous situations and, like many judicial doctrines,

is subject to numerous exceptions. Id. Therefore, the Court must determine whether it has the

authority to waive the 30-day waiting period of the exhaustion requirement. Since COVID-19 has



                                                 4
                       2:19-cr-20006-MMM-EIL # 101            Page 5 of 8




wreaked havoc on this country, many federal judges, including those in the Central District of

Illinois, have considered this issue. Some judges have found that they have the discretion to waive

the 30-day requirement due to the serious risks associated with COVID-19. See e.g. United States

v. Anderson, 2020 WL 2521513 (C.D. Ill. May 18, 2020); United States v. Scparta, 2020 WL

1910481 (S.D.N.Y. Apr. 19, 2020); United States v. Guzman Soto, 2020 WL 195323 (D. Mass.

Apr. 17, 2020); Untied States v. Russo, 2020 WL 1862294 (S.D.N.Y. Apr. 14, 2020); United State

v. Smith, 2020 WL 1849748 (S.D.N.Y. Apr. 13, 2020); United State v. Hanley, 2020 WL 1821988,

at *1 (S.D.N.Y. Apr. 13, 2020); United States v. McCarthy, 2020 WL 1698732 (D. Conn. Apr. 8,

2020). Other judges have held that the 30-day requirement is mandatory, not subject to exception.

See e.g. United States v. Cox, 2020 WL 1923220, at *1 (S.D. Ind. Apr. 21, 2020); United States v.

Demaria, 2020 WL 1888910 (S.D.N.Y. Apr. 16, 2020); United States v. Rensing, 2020 WL

1847782 at *1 (S.D.N.Y. Apr. 13, 2020); United States v. Roberts, 2020 WL 1700032, at *2

(S.D.N.Y. Apr. 8, 2020).

       The Seventh Circuit has not yet directly addressed the division, but the Central District of

Illinois has previously interpreted section 3582(c)(1)(A) to not require an inmate to fully exhaust

BOP procedures before coming to court, in some circumstances, stating:

       While a court may certainly decline to consider a motion where Defendant has not
       waited thirty days, nothing in the statutory scheme suggests that Congress intended
       to preclude the court from exercising judicial discretion and to take into account
       timeliness and exigent circumstances related to why the defendant seeks
       compassionate release.

Anderson, 2020 WL 2521513 at *4.

       Although it is unclear when Defendant requested compassionate release, it is apparent that

the warden denied the request on July 23, 2020, before Defendant’s Amended Motion for




                                                5
                        2:19-cr-20006-MMM-EIL # 101            Page 6 of 8




Compassionate Release was filed. The Court finds the exhaustion requirements have been met,

and therefore addresses this matter on the merits.

       B. Defendant Failed to Demonstrate Extraordinary and Compelling Reasons
          Justifying a Sentence Reduction.

           1. Defendant’s Health

       Defendant, who is a healthy 31-year-old, did not identify any terminal illness or any

“serious physical or medical condition…that substantially diminishes [his] ability to provide self-

care within the environment of a correctional facility and from which he [] is not expected to

recover.” USSG § 1B1.13, cmt. n.1(A). Defendant argues that he is at a higher risk of contracting

COVID-19 “due to the prison conditions that mandate crowding and cellmates.” (D. 98-1 at 3). He

argues that he is unable to social distance because he shares a cell with another inmate and “cannot

control what his cellmate does and against [his] advice chooses not to wear a mask or social

distance.” Id. While the prison environment presents unique challenges, the mere existence of the

COVID-19 pandemic, which poses a general threat to every non-immune person in the country,

does not provide justification for a sentence reduction.

           2. Defendant’s Family

       Defendant argues that COVID-19 has affected the Burns family and his release would

allow him to help his 56-year-old mother care for his grandfather who is on hospice care. (D. 98-

1 at 4). He states that while other family members go through testing for COVID-19, “his

grandfather remains alone in self-quarantine trying to care for himself with the help that his family

can provide.” Id. Although the Court acknowledges that Defendant wishes to assist his ailing

grandfather, Defendant has demonstrated a level of disregard for his family during his repeated

criminal offenses. Perhaps if Defendant had not conspired with others to distribute




                                                 6
                       2:19-cr-20006-MMM-EIL # 101            Page 7 of 8




methamphetamine, he would be available to assist his mother and grandfather now. Defendant has

failed to demonstrate extraordinary and compelling reasons justifying his immediate release.

           3. FCI Greenville

       Further, unlike at some facilities, there have been no inmate or staff deaths due to COVID-

19 at FCI Greenville. To date, 74 inmates and 18 staff members have recovered, and two inmates

and six staff members are positive. (https://www.bop.gov/coronavirus/ (last visited on 9/24/2020)).

As previously stated, “[t]he mere presence of COVID-19 in a particular prison cannot justify

compassionate release – if it could, every inmate in that prison could obtain release.” See e.g.,

United States v. Melgarejo, 2020 WL 2395982 (C.D. Ill. May 12, 2020). Rather, “a prisoner [may]

satisfy the extraordinary and compelling reasons requirement by showing that his particular

institution is facing a serious outbreak of COVID-19 infections, the institution is unable to

successfully contain the outbreak, and his health condition places him at significant risk of

complications should he contract the virus.” Id. at 5–6.

       Considering the relatively few positive cases and the number of recoveries during the last

several weeks, the Court believes the BOP’s approach to containing the outbreak at this facility is

adequate. Therefore, the Court finds Defendant has failed to meet his burden of establishing

extraordinary and compelling circumstances justifying his release.

       C. Section 3553(a) Factors Do Not Support a Sentence Reduction.

       Finally, the Court will consider the section 3553(a) factors to determine if a sentence

reduction would be appropriate. At the time of the instant offense, Defendant was on parole for

manufacturing methamphetamine and possessing drug paraphernalia. (D. 51 at ¶ 67). Before that,

he was sentenced to six years in the Illinois Department of Corrections for a methamphetamine

precursor offense and was convicted of battery on multiple occasions. Id. at ¶¶ 53, 60, 64-65.



                                                 7
                       2:19-cr-20006-MMM-EIL # 101            Page 8 of 8




       Between April 2017 and October 2018, Defendant conspired with others to possess with

the intent to distribute methamphetamine. (D. 51 at ¶ 1). The conspiracy involved the trafficking

a large amount of methamphetamine from Texas to Illinois, and Defendant was personally

responsible for at least 183 grams. Id. at ¶ 31. Defendant faced an advisory guideline sentencing

range of 262 to 327 months for the instant offense based on his criminal history, but he was given

a sentence substantially below the guideline range of 218 months. Id. at ¶ 106.

       The Court finds that his early release would not be justifiable under the section 3553(a)

factors. Defendant’s criminal history and characteristics do not weigh in favor of immediate

release. Additionally, reducing his sentence to time served would result in an unjust sentence

disparity between Defendant and others “with similar records who have been found guilty of

similar conduct.” 18 U.S.C. § 3553(a)(6).

                                            CONCLUSION

       For the reasons set forth above, Defendant’s Motions for Compassionate Release [84], [98]

are DENIED.

       ENTERED this 25th day of September, 2020.


                                                    s/ Michael M. Mihm
                                                    Michael M. Mihm
                                                    United States District Judge




                                                8
